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                                           8                                   UNITED STATES DISTRICT COURT
                                           9                               NORTHERN DISTRICT OF CALIFORNIA
                                          10                                          SAN JOSE DIVISION
For the Northern District of California




                                          11   CHAD BRAZIL, individually and on behalf of         )    Case No.: 12-CV-01831-LHK
    United States District Court




                                               all others similarly situated,                     )
                                          12                                                      )    ORDER GRANTING IN PART AND
                                                                  Plaintiff,                      )    DENYING IN PART BRAZIL’S
                                          13          v.                                          )    MOTION FOR CLASS
                                                                                                  )    CERTIFICATION
                                          14   DOLE PACKAGED FOODS, LLC,                          )
                                                                                                  )
                                          15                      Defendant.                      )
                                                                                                  )
                                          16                                                      )
                                          17
                                                      Before the Court is Plaintiff Chad Brazil’s (“Brazil”) Motion for Class Certification. ECF
                                          18
                                               No. 96 (“Mot.”). Dole Packaged Foods, LLC’s (“Dole”) opposes the Motion, ECF No. 104-4
                                          19
                                               (“Opp.”), and Brazil replied, ECF No. 117 (“Reply”). Having considered the submissions of the
                                          20
                                               parties, the relevant law, the record in this case, and the arguments at the May 29, 2014 hearing, the
                                          21
                                               Court hereby GRANTS IN PART and DENIES IN PART Brazil’s Motion for Class Certification.1
                                          22

                                          23   1
                                                 The Court also GRANTS the parties’ respective motions to seal. See ECF Nos. 104 (Dole’s
                                          24   Administrative Motion to Seal its Opposition to Motion for Class Certification), 116 (Brazil’s
                                               Administrative Motion to Seal its Reply in Support of its Motion for Class Certification). The
                                          25   sealing requests are narrowly tailored to confidential business information, and are thus sealable
                                               under Civ. L. R. 79-5 and Kamakana v. City & County of Honolulu, 447 F.3d 1172, 1178
                                          26   (9th Cir. 2006). See also Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206,
                                               1210-11 (9th Cir. 2002) (requiring a “particularized showing,” such that “specific prejudice or
                                          27   harm will result” if the information is disclosed); Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d
                                               470, 476 (9th Cir. 1992) (“Broad allegations of harm, unsubstantiated by specific examples of
                                          28   articulated reasoning” will not suffice).
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                                           1      I.      BACKGROUND

                                           2           A. Factual Background

                                           3           Defendants are “leading producers of retail food products” who sell their products “through

                                           4   grocery and other retail stores throughout the United States.” ECF No. 60, Second Amended

                                           5   Complaint (“SAC”) ¶ 18. Defendant Dole Packaged Foods, LLC, is a California limited liability

                                           6   corporation with its principal place of business in Westlake Village, California. SAC ¶¶ 16-17.

                                           7   Brazil alleges that “[a]ll of the misconduct alleged [in the SAC] was contrived in, implemented in,

                                           8   and has a shared nexus with California.” SAC ¶ 19. Brazil is a California consumer who “cares

                                           9   about the nutritional content of food and seeks to maintain a healthy diet.” SAC ¶¶ 15, 193. From

                                          10   April 2008 to the present, Brazil has spent over $25.00 on Defendant’s food products, which he
For the Northern District of California




                                          11   contends are “misbranded” in violation of federal and state law. SAC ¶¶ 5, 193. Specifically, Brazil
    United States District Court




                                          12   alleges that he purchased the following eight food products: (1) Dole Frozen Wildly Nutritious

                                          13   Signature Blends—Mixed Berries (12 oz. Bag); (2) Dole Frozen Wildly Nutritious Signature

                                          14   Blends—Mixed Fruit (12 oz. bag); (3) Dole Frozen Blueberries (12 oz. bag); (4) Dole Frozen

                                          15   Blueberries (3 oz. plastic cups); (5) Dole Mixed Fruit in 100% Fruit Juice (4 oz. cups); (6) Dole

                                          16   Fruit Smoothie Shakers—Strawberry Banana (4 oz.); (7) Dole Mixed Fruit in Cherry Gel (4.3 oz.

                                          17   plastic cups); (8) Dole Tropical Fruit in Light Syrup & Passion Fruit Juice (15.25 oz. can). SAC

                                          18   ¶ 2. Brazil refers to these products collectively as the “Purchased Products.” Id. The SAC also

                                          19   alleges claims based on thirty additional products that Brazil did not purchase, but which are,

                                          20   Brazil claims, substantially similar to those that he did, in that they “(i) make the same label

                                          21   representations . . . as the Purchased Products and (ii) violate the same regulations of the Sherman

                                          22   Food Drug & Cosmetic Law, California Health & Safety Code § 109875, et seq.” SAC ¶¶ 3-4.

                                          23   Brazil refers to this group of products as the “Substantially Similar Products.” SAC ¶ 3.

                                          24           Brazil alleges that Defendants make numerous representations concerning their products on

                                          25   the products’ labels that are unlawful, as well as false and misleading, under federal and California

                                          26   law. SAC ¶¶ 8-14. Specifically, Brazil challenges Defendants’ claims that certain of their products

                                          27   are “all natural.” SAC ¶ 30 (identifying which of the Purchased Products make All Natural

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                                           1   Claims); ¶ 201 (identifying which of the Substantially Similar Products make All Natural Claims).

                                           2   According to Brazil, regulations issued by the Food and Drug Administration (FDA) dictate that

                                           3   Defendants may not claim that a product is “all natural,” if it contains “unnatural ingredients such

                                           4   as added color, [or] synthetic and artificial substances.” SAC ¶ 31; see also 21 C.F.R. § 101.22

                                           5   (setting forth the circumstances under which added colors and artificial flavors must be disclosed

                                           6   on a package’s label). Defendants’ products are mislabeled, Brazil alleges, because they contain

                                           7   ingredients that preclude the use of the term “natural.” SAC ¶ 37-39; see also ¶ 125 (label on Dole

                                           8   Frozen Wildly Nutritious Signature Blends—Mixed Fruit unlawfully “uses the phrase ‘All Natural

                                           9   Fruit’ even though this product contains the following artificial ingredients: ascorbic acid, citric

                                          10   acid, malic acid and added flavors”).
For the Northern District of California




                                          11          Brazil now seeks class certification as to only ten products asserted in the SAC (referred to
    United States District Court




                                          12   herein as the “identified products”): (1) Tropical Fruit (can), (2) Mixed Fruit (cup), (3) Diced

                                          13   Peaches, (4) Diced Apples, (5) Diced Pears, (6) Mandarin Oranges, (7) Pineapple Tidbits, (8) Red

                                          14   Grapefruit Sunrise, (9) Tropical Fruit (cup), (10) Mixed Fruit (bag). Brazil contends that all ten of

                                          15   these products contain the label statement “All Natural Fruit,” which Brazil alleges is misleading

                                          16   because all ten products contain both ascorbic acid (commonly known as Vitamin C) and citric

                                          17   acid, allegedly synthetic ingredients.

                                          18          B. Procedural Background

                                          19          Brazil filed an Original Complaint against Defendants on April 11, 2012. ECF No. 1.

                                          20   Defendants filed a Motion to Dismiss on July 2, 2012. ECF No. 16. Rather than responding to

                                          21   Defendants’ Motion to Dismiss, Brazil filed a First Amended Complaint on July 23, 2012. ECF

                                          22   No. 25. The Court then denied Defendants’ Motion to Dismiss the Original Complaint as moot.

                                          23   ECF No. 28.

                                          24          On August 13, 2012, Defendants filed a Motion to Dismiss the First Amended Complaint

                                          25   or, in the Alternative, Motion to Strike, ECF No. 29, which the Court granted in part and denied in

                                          26   part on March 25, 2013, ECF No. 59. The Court granted leave to amend, and, accordingly, Brazil

                                          27   filed the SAC on April 12, 2013. ECF No. 60. In response to the SAC, Defendants filed a Motion

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                                           1   to Dismiss and Motion to Strike on April 29, 2013. ECF No. 62. The Court granted in part and

                                           2   denied in part Dole’s Motion to Dismiss the SAC on September 23, 2013. The parties also

                                           3   stipulated to the dismissal of the Dole Frozen Blueberries (3 oz. plastic cups) product and all

                                           4   Smoothie Shakers products (Mixed Berry, Peach Mango, Strawberry, or Strawberry Banana

                                           5   flavors) after Brazil testified at his deposition that he had never purchased any of those products.

                                           6   ECF No. 88. In addition, the stipulation dismissed Defendant Dole Food Company, Inc. from the

                                           7   case. Id. Brazil filed the instant motion for class certification on January 31, 2014, ECF No. 96

                                           8   (“Mot.”), Dole filed its opposition on March 6, 2014, ECF No. 104-4 (“Opp’n”), and Brazil filed a

                                           9   reply on March 27, 2014, ECF No. 117 (“Reply”). Dole also filed separate motions to strike the

                                          10   Declarations of Julie Caswell and Edward Scarbrough. ECF Nos. 111-112.2
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                                          11       II.      LEGAL STANDARD
    United States District Court




                                          12             Federal Rule of Civil Procedure 23, which governs class certification, has two sets of
                                          13   distinct requirements that Plaintiffs must meet before the Court may certify a class. Plaintiffs must
                                          14   meet all of the requirements of Rule 23(a) and must satisfy at least one of the prongs of Rule 23(b).
                                          15             Under Rule 23(a), the Court may certify a class only where “(1) the class is so numerous
                                          16   that joinder of all members is impracticable; (2) there are questions of law or fact common to the
                                          17   class; (3) the claims or defenses of the representative parties are typical of the claims or defenses of
                                          18   the class; and (4) the representative parties will fairly and adequately protect the interests of the
                                          19   class.” Fed. R. Civ. P. 23(a). Courts refer to these four requirements, which must be satisfied to
                                          20   maintain a class action, as “numerosity, commonality, typicality and adequacy of representation.”

                                          21   Mazza v. Am. Honda Motor Co., 666 F.3d 581, 588 (9th Cir. 2012). Further, courts have implied an

                                          22   additional requirement under Rule 23(a): that the class to be certified be ascertainable. See Marcus

                                          23   v. BMW of North America, LLC, 687 F.3d 583, 592–93 (3d Cir. 2012); Herrera v. LCS Fin. Servs.

                                          24   Corp., 274 F.R.D. 666, 671–72 (N.D. Cal. 2011).

                                          25

                                          26
                                               2
                                          27     The court does not rely in this order on the declarations of Julie Caswell or Edward Scarbrough,
                                               so Dole’s motions to strike those declarations are DENIED AS MOOT. See ECF No. 111 (Motion
                                          28   to Strike Caswell Decl.); Dkt. No. 112 (Motion to Strike Scarbrough Decl.).
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                                           1             In addition to meeting the requirements of Rule 23(a), the Court must also find that

                                           2   Plaintiffs have satisfied “through evidentiary proof” one of the three subsections of Rule 23(b).

                                           3   Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013). The Court can certify a Rule 23(b)(1)

                                           4   class when Plaintiffs make a showing that there would be a risk of substantial prejudice or

                                           5   inconsistent adjudications if there were separate adjudications. Fed. R. Civ. P. 23(b)(1). The Court

                                           6   can certify a Rule 23(b)(2) class if “the party opposing the class has acted or refused to act on

                                           7   grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory

                                           8   relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). Finally, the Court

                                           9   can certify a Rule 23(b)(3) class if the Court finds that “questions of law or fact common to class

                                          10   members predominate over any questions affecting only individual members, and that a class
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                                          11   action is superior to other available methods for fairly and efficiently adjudicating the
    United States District Court




                                          12   controversy.” Fed. R. Civ. P. 23(b)(3) (emphasis added).

                                          13             “[A] court’s class-certification analysis must be ‘rigorous’ and may ‘entail some overlap

                                          14   with the merits of the plaintiff’s underlying claim.’” Amgen Inc. v. Conn. Ret. Plans and Trust

                                          15   Funds, 133 S. Ct. 1184, 1194 (2013) (quoting Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541,

                                          16   2551 (2011)); see also Mazza, 666 F.3d at 588 (“‘Before certifying a class, the trial court must

                                          17   conduct a ‘rigorous analysis’ to determine whether the party seeking certification has met the

                                          18   prerequisites of Rule 23.’” (quoting Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186,

                                          19   amended by 273 F.3d 1266 (9th Cir. 2001)). Nevertheless, “Rule 23 grants courts no license to

                                          20   engage in free-ranging merits inquiries at the certification stage.” Amgen, 133 S. Ct. at 1194–95.

                                          21   “Merits questions may be considered to the extent—but only to the extent—that they are relevant

                                          22   to determining whether the Rule 23 prerequisites for class certification are satisfied.” Id. at 1195.

                                          23   Within the framework of Rule 23, the Court ultimately has broad discretion over whether to certify

                                          24   a class. Zinser, 253 F.3d at 1186.

                                          25      III.      DISCUSSION

                                          26             Having originally alleged claims with respect to 38 products and 7 label statements in the

                                          27   SAC, Brazil now seeks class certification only as to 10 products and only the “All Natural Fruit”

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                                           1   label statement. SAC ¶¶ 4, 14; Mot. at i:9-12. Dole claims that Brazil has abandoned his claims as

                                           2   to the other products and label statements identified in the SAC for which Brazil does not move for

                                           3   class certification. Dole thus asks the Court to dismiss these claims with prejudice. Brazil does not

                                           4   respond to Dole’s request to dismiss these claims with prejudice. Brazil could have moved to

                                           5   certify a broader class that includes all the Dole products and label statements identified in the

                                           6   SAC, but chose not to. The Court therefore finds that Brazil has abandoned the claims for which he

                                           7   did not seek class certification. See Jenkins v. County of Riverside, 398 F.3d 1093, 1095 n. 4 (9th

                                           8   Cir. 2005) (plaintiff abandoned two claims by not raising them in opposition to the County’s

                                           9   motion for summary judgment).

                                          10           Moreover, Brazil previously asked the Court to sever the case, a request the Court denied
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                                          11   on September 26, 2013. ECF No. 84 at 5:3-7. Dismissal without prejudice as advocated by Brazil
    United States District Court




                                          12   would effectively moot the Court’s previous denial of Brazil’s request to sever the case. If the

                                          13   Court dismissed without prejudice, Brazil could file another case alleging the dismissed causes of

                                          14   action. Therefore, the Court dismisses all claims for which Brazil does not seek class certification

                                          15   with prejudice. Jenkins, 398 F.3d at 1095 n. 4; see also McCarthy v. Kleindienst, 741 F.2d 1406,

                                          16   1412 (D.C. Cir. 1984) (holding that “[f]undamental fairness, as well as the orderly administration

                                          17   of justice requires that defendants haled into court not remain indefinitely uncertain as to the

                                          18   bedrock litigation fact of the number of individuals or parties to whom they may ultimately be held

                                          19   liable for money damages” and that Rule 23(c)(1) “foster[s] the interests of judicial efficiency, as

                                          20   well as the interests of the parties, by encouraging courts to proceed to the merits of a controversy

                                          21   as soon as practicable”).

                                          22           Dole attacks Brazil’s ability to satisfy several of the elements required for class

                                          23   certification. Consequently, the Court will address each element required for class certification in

                                          24   turn.

                                          25           A. Ascertainability

                                          26           “As a threshold matter, and apart from the explicit requirements of Rule 23(a), the party

                                          27   seeking class certification must demonstrate that an identifiable and ascertainable class exists.”

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                                           1   Sethavanish v. ZonePerfect Nutrition Co., No. 12-2907, 2014 WL 580696 (N.D. Cal. Feb. 13,

                                           2   2014). A class is ascertainable if the class is defined with “objective criteria” and if it is

                                           3   “administratively feasible to determine whether a particular individual is a member of the class.”

                                           4   See Wolph v. Acer America Corp., No. 09-1314, 2012 WL 993531, at *1–2 (N.D. Cal. Mar. 23,

                                           5   2012) (certifying a class where “the identity and contact information for a significant portion of

                                           6   these individuals can be obtained from the warranty registration information and through Acer's

                                           7   customer service databases”); see also Hofstetter v. Chase Home Finance, LLC, No. 10-01313,

                                           8   2011 WL 1225900, at *14 (N.D. Cal. Mar. 31, 2011) (certifying class where “defendants’ business

                                           9   records should be sufficient to determine the class membership status of any given individual.”);

                                          10   Xavier v. Philip Morris USA Inc., 787 F. Supp. 2d 1075, 1089 (N.D. Cal. 2011) (denying the
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                                          11   ascertainability of a class that smoked cigarettes for “at least twenty years”); Tietsworth v. Sears,
    United States District Court




                                          12   Roebuck & Co., No. 09-288, 2013 WL 1303100, at *3–4 (N.D. Cal. Mar. 28, 2013) (denying

                                          13   certification where “ascertaining class membership would require unmanageable individualized

                                          14   inquiry”).

                                          15           Brazil has precisely defined the class based on objective criteria: purchase of the identified

                                          16   Dole fruit products within the class period. The class definition “simply identifies purchasers of

                                          17   Defendant’s products that included the allegedly material misrepresentations.” Astiana v. Kashi

                                          18   Co., 291 F.R.D. 493, 500 (S.D. Cal. 2013) (finding a class of customers who purchased Kashi

                                          19   products labeled as containing “Nothing Artificial” during the class period to be ascertainable and

                                          20   rejecting argument that because “Defendant does not have records of consumer purchases, and

                                          21   potential class members will likely lack proof of their purchases, . . . the Court will have no

                                          22   feasible mechanism for identifying class members”). Likewise, “[b]ecause the alleged

                                          23   misrepresentations appeared on the actual packages of the products purchased, there is no concern

                                          24   that the class includes individuals who were not exposed to the misrepresentation.” Id. In the Ninth

                                          25   Circuit, “this is enough to satisfy Rule 23(a)’s implied ascertainability requirement.” Forcellati v.

                                          26   Hyland’s, Inc., No. 12-1983, 2014 WL 1410264, at *5 (C.D. Cal. Apr. 9, 2014) (certifying class of

                                          27   consumers who purchased “Defendants’ children's cold or flu products within a prescribed time

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                                           1   frame”); see also McCrary v. The Elations Co., LLC, No. 13-242, 2014 WL 1779243, at *7-9 (C.D.

                                           2   Cal. Jan. 13, 2014) (class ascertainable where “the class definition clearly define[d] the

                                           3   characteristics of a class member by providing a description of the allegedly offending product and

                                           4   the eligible dates of purchase”); Guido v. L’Oreal, USA, Inc., No. 11-1067, 2013 WL 3353857, at

                                           5   *18 (C.D. Cal. July 1, 2013) (finding class ascertainable where “the requirement for membership in

                                           6   the class [was] whether a consumer purchased a product after a particular date”).

                                           7          Dole makes two arguments that the proposed class is not ascertainable. First, Dole argues

                                           8   that all of Dole’s ingredient suppliers use only natural processes to obtain ascorbic acid and citric

                                           9   acid. The parties agree that there are two ways to make ascorbic acid and citric acid: chemical

                                          10   synthesis and fermentation. ECF No. 104-18, Montville Decl. ¶¶ 5, 9. Because Dole’s labels do not
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                                          11   identify which method was used to create the ascorbic acid and citric acid in its products, Dole
    United States District Court




                                          12   contends that ascertainability is lacking.

                                          13          The class does not lack ascertainability just because ascorbic acid and citric acid can be

                                          14   made using two different processes. Rather, it is clear from Dole’s own evidence that Dole uses

                                          15   similar processes to produce all of its ascorbic acid and citric acid. Dr. Hany Farag, Dole’s Vice

                                          16   President of Quality & Regulatory Affairs, states in his declaration that he is “confident that all of

                                          17   the citric and ascorbic acid used by Dole is made in a similar way.” ECF No. 104-13, Farag Decl.

                                          18   ¶ 11. Moreover, Dole submits certifications from two of Dole’s suppliers stating that they use only

                                          19   fermentation to produce their ascorbic and citric acid. See ECF No. 104-14-104-15, Farag Decl.

                                          20   Ex. A-B. Dole also submits a certification from a third supplier, which states in full: “We hereby

                                          21   certify that our product citric acid anhydrous is natural.” ECF No. 104-16. While this third

                                          22   certification is admittedly ambiguous, Dole’s own explanation that all of the citric and ascorbic

                                          23   acid used by Dole is made in a similar way is sufficient to defeat Dole’s ascertainability argument.

                                          24   Thus, all of Dole’s customers received ascorbic acid and citric acid that was made in a similar way,

                                          25   and no ascertainability problem exists.3

                                          26   3
                                                Dole’s citation to Astiana v. Ben & Jerry’s Homemade, Inc., 2014 WL 60097 (N.D. Cal. Jan. 7,
                                          27   2014), is unavailing. In Astiana, the defendant sourced its accused cocoa from as many as 15
                                               different suppliers. Evidence indicated that the suppliers used different ingredients in their
                                          28   manufacturing processes, with some using synthetic ingredients and others using non-synthetic
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                                           1          Second, Dole contends that the proposed class is not ascertainable because no company

                                           2   records exist to identify purchasers or which products they bought. Opp’n at 6. Dole’s concern is

                                           3   that class members will not have actual proof that they belong in the class. Dole bases its argument

                                           4   largely on Sethavanish, 2014 WL 580696, at *5, which found persuasive the Third Circuit’s

                                           5   reasoning in Carrera v. Bayer Corp., 727 F.3d 300 (3d Cir. 2013). In Carrera, the Third Circuit

                                           6   found that a putative class of purchasers of the defendant’s diet supplement was not ascertainable

                                           7   because there was insufficient evidence to show that retailer records could be used to identify class

                                           8   members. Carrera, 727 F.3d at 308-09. The Third Circuit rejected plaintiff’s proposal to use

                                           9   affidavits submitted by putative class members because this process deprived the defendant of the

                                          10   opportunity to challenge class membership. Id. at 309. Additionally, the Third Circuit held that
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                                          11   “there is a significant likelihood their recovery will be diluted by fraudulent or inaccurate claims,”
    United States District Court




                                          12   and that absent class members could then argue that they are not bound by a judgment because the

                                          13   named plaintiff did not adequately represent them. Id. at 310.

                                          14          “While [Carerra] may now be the law in the Third Circuit, it is not currently the law in the

                                          15   Ninth Circuit.” McCrary, 2014 WL 1779243, at *8. “In this Circuit, it is enough that the class

                                          16   definition describes a set of common characteristics sufficient to allow a prospective plaintiff to

                                          17   identify himself or herself as having a right to recover based on the description.” Id. (internal

                                          18   quotation marks omitted); see also Astiana, 291 F.R.D. at 500 (“As long as the class definition is

                                          19   sufficiently definite to identify putative class members, the challenges entailed in the

                                          20   administration of this class are not so burdensome as to defeat certification.” (internal quotation

                                          21   marks and alteration omitted)).

                                          22          Where courts have denied class certification because the proposed class was not

                                          23   ascertainable, identification of class members posed far greater difficulties than it is likely to pose

                                          24   in this case. See, e.g., Xavier, 787 F. Supp. 2d at 1090 (proposed class unascertainable where class

                                          25   definition included persons who had smoked a certain number of Marlboro cigarettes potentially

                                          26   over a period of decades because (1) manufacturer lacked data on individual smokers, (2) plaintiffs

                                          27
                                               ingredients. Id. at *3. Here, Dole affirmatively asserts that all of its suppliers use only the
                                          28   fermentation process for obtaining ascorbic acid and citric acid.
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                                           1   merely offered broad demographic data on smoking, (3) smoking habits were likely to change over

                                           2   such a long time period, and (4) asking individual class members to submit affidavits attesting to

                                           3   their belief that they had smoked 146,000 Marlboro cigarettes asked too much of potential class

                                           4   members’ memories). In Astiana v. Ben & Jerry's Homemade, Inc., Judge Hamilton found

                                           5   unascertainable a plaintiff’s proposed class of those who had purchased Ben & Jerry’s ice cream

                                           6   that contained alkalized cocoa processed with a synthetic ingredient. No. 10-4387, 2014 WL

                                           7   60097, at *3 (N.D. Cal. Jan. 7, 2014). In Ben & Jerry’s, however, only one of the defendant’s

                                           8   fifteen suppliers had used a synthetic ingredient, and the plaintiff could provide no method of

                                           9   identifying which consumers had purchased ice cream from that supplier. Id. The proposed class in

                                          10   this case is distinguishable. Unlike in Ben & Jerry’s, here all purchasers of the identified Dole
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                                          11   products are included in the class definition, and all identified Dole products bore the same alleged
    United States District Court




                                          12   misstatements. The class period here is also far shorter than in Xavier, and inviting plaintiffs to

                                          13   submit affidavits attesting to their belief that they have purchased one of a list of Dole fruit

                                          14   products in the past several years is much likelier to elicit reliable affidavits than asking potential

                                          15   class members to recall whether they had smoked 146,000 of a certain cigarette over the course of

                                          16   several decades. See Xavier, 787 F. Supp. 2d at 1090 (“Swearing ‘I smoked 146,000 Marlboro

                                          17   cigarettes’ is categorically different from swearing ‘I have been to Paris, France,’ or ‘I am Jewish,’

                                          18   or even ‘I was within ten miles of the toxic explosion on the day it happened.’”).

                                          19          Put simply, in the Ninth Circuit “[t]here is no requirement that the identity of the class

                                          20   members . . . be known at the time of certification.” Ries, 287 F.R.D. at 535 (alteration in original).

                                          21   Rather, “parameters for membership in the class [must be] set by objective criteria,” such that it is

                                          22   “administratively feasible to determine whether a particular individual is a member of the class.”

                                          23   Wolph, 2012 WL 993531, at *1-2.4 Because Brazil’s proposed class is sufficiently definite to

                                          24   identify putative class members, the Court finds the proposed class sufficiently ascertainable.

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                                          27    Four judges dissented from the Third Circuit’s denial of rehearing en banc in Carrera. That
                                               dissent agrees with this lower burden of ascertainability, particularly in light of the fact that the
                                          28   ascertainability requirement is rooted in common law and is not compelled by the text of Rule 23.
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                                           1          B. Rule 23(a) Requirements

                                           2          Dole challenges Brazil’s ability to satisfy the four requirements for class certification under

                                           3   Rule 23(a), and the Court addresses each in turn

                                           4                  1. Numerosity

                                           5          Dole does not contest numerosity. Because Dole has sold, at minimum, thousands of units

                                           6   of each product at issue in this litigation, ECF No. 101-3, Exhibit N, 12/12/13 Spare Depo. Tr.

                                           7   166:2-14, joinder of all class members is “impracticable.” Fed. R. Civ. P. 23(a)(1); Jordan v.

                                           8   County of Los Angeles, 669 F.2d 1311, 1319 (9th Cir. 1982), vacated on other grounds, 459 U.S.

                                           9   810 (1982).

                                          10                  2. Commonality
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                                          11          “Commonality requires the plaintiff to demonstrate that the class members ‘have suffered
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                                          12   the same injury,’” which “does not mean merely that they have all suffered a violation of the same

                                          13   provision of law.” Dukes, 131 S. Ct. at 2551. The “claims must depend on a common contention”

                                          14   and “[t]hat common contention . . . must be of such a nature that it is capable of classwide

                                          15   resolution—which means that determination of its truth or falsity will resolve an issue that is

                                          16   central to the validity of each one of the claims in one stroke.” Id. Commonality is satisfied by “the

                                          17   existence of shared legal issues with divergent factual predicates” or a “common core of salient

                                          18   facts coupled with disparate legal remedies within the class.” Hanlon v. Chrysler Corp., 150 F.3d

                                          19   1011, 1019-20 (9th Cir. 1998). All questions of fact and law need not be common to satisfy the

                                          20   rule. Id. Rather, in deciding whether plaintiffs share a common question with the prospective class,

                                          21   the named plaintiffs must share at least one question of fact or law with the prospective class.

                                          22   Rodriguez v. Hayes, 591 F.3d 1105, 1122 (9th Cir. 2010) (citation omitted); see Mazza, 666 F.3d at

                                          23   589 (“[C]ommonality only requires a single significant question of law or fact.”).

                                          24          Dole contends that Brazil’s class claims fail the commonality requirement under Rule

                                          25   23(a)(2). Dole first argues that materiality varies from consumer to consumer, and thus is not a

                                          26   common question. The law is to the contrary. Brazil’s UCL, FAL, and CLRA claims depend on

                                          27   whether the labels at issue are unlawful, unfair, deceptive, or misleading to reasonable consumers.

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                                           1   See Cel-Tech Comm., Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999) (noting

                                           2   that the UCL prohibits conduct that is unfair, deceptive, or unlawful). A plaintiff can establish that

                                           3   a misrepresentation is material and thus violative of the consumer protection laws at issue in this

                                           4   case by showing that “a reasonable man would attach importance to its existence or nonexistence

                                           5   in determining his choice of action in the transaction in question.” In re Steroid Hormone Prod.

                                           6   Cases, 181 Cal. App. 4th 145, 157 (2010) (noting also that “materiality is generally a question of

                                           7   fact unless the fact misrepresented is so obviously unimportant that the jury could not reasonably

                                           8   find that a reasonable man would have been influenced by it”). Whether Dole’s label statements

                                           9   constitute material misrepresentations does not depend on the subjective motivations of individual

                                          10   purchasers, and the particular mix of motivations that compelled each class member to purchase
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                                          11   the products in the first place is irrelevant. See Ries, 287 F.R.D. at 537 (“[V]ariation among class
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                                          12   members in their motivation for purchasing the product, the factual circumstances behind their

                                          13   purchase, or the price that they paid does not defeat the relatively ‘minimal’ showing required to

                                          14   establish commonality.”); see also Mazza, 666 F.3d at 589 (noting plaintiff bears “limited burden”

                                          15   to demonstrate single common question of law or fact); Hanlon, 150 F.3d at 1019-22; In re Ferrero

                                          16   Litigation, 278 F.R.D. 552, 558 (S.D. Cal. 2011) (finding commonality where claims were based

                                          17   on “common advertising campaign”). Materiality is therefore a question common to the class, the

                                          18   resolution of which “will resolve an issue that is central to the validity of each of the claims in one

                                          19   stroke.” Dukes, 131 S. Ct. at 2545. Because “an inference of reliance arises if a material false

                                          20   representation was made to persons whose acts thereafter were consistent with reliance upon the

                                          21   representation,” should Brazil prevail in proving that Dole’s label misstatements were material, he

                                          22   will have established a presumption of reliance as to the entire class as well. Occidental Land, Inc.

                                          23   v. Super. Ct., 18 Cal. 3d. 355, 363 (1976); see also In re Tobacco II Cases, 46 Cal. 4th 298, 326-28

                                          24   (2009).

                                          25             Second, and relatedly, Dole argues that the allegedly deceptive labeling statements are not

                                          26   specifically regulated and, therefore, are not material under Kwikset. 51 Cal. 4th at 329.

                                          27   Specifically, Defendant contends that the only prohibitions that might bear on the label statements

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                                           1   at issue are “non-binding FDA policy statements.” Opp’n at 8. At this stage, the Court need not

                                           2   decide whether the label statements at issue are material as a matter of law. Rather, the Court only

                                           3   need find that materiality of the label statements is a question common to the class.

                                           4          Finally, Dole argues that the “All Natural” label statements are not susceptible to common

                                           5   proof because “All Natural” has no common definition. Dole relies on Astiana, 291 F.R.D. at 507-

                                           6   09, in which the court denied class certification of a broad class in favor of certifying a narrower

                                           7   class because the court found that “All Natural” had no common meaning as to the broad class.

                                           8   Astiana itself relies on In re Vioxx Class Cases, 180 Cal. App. 4th 116, 129 (2009). In Vioxx, the

                                           9   court found that “if the issue of materiality or reliance is a matter that would vary from consumer to

                                          10   consumer, the issue is not subject to common proof, and the action is properly not certified as a
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                                          11   class action.” Vioxx, 180 Cal. App. 4th at 129; see also Stearns v. Ticketmaster Corp., 655 F.3d
    United States District Court




                                          12   1013, 1022-23 (9th Cir. 2011) (“If the misrepresentation or omission is not material as to all class

                                          13   members, the issue of reliance ‘would vary from consumer to consumer’ and the class should not

                                          14   be certified.”). In Vioxx, which was based on alleged misrepresentations regarding the pain relief

                                          15   drug Vioxx, the court determined that “the decision to prescribe Vioxx is an individual decision

                                          16   made by a physician in reliance on many different factors, which vary from patient to patient.” Id.

                                          17   at 133. Additionally, there was evidence that “some patients would rather assume the known risk of

                                          18   taking Vioxx in exchange for pain relief, thereby mandating an individual inquiry into patient

                                          19   desires.” Id. (internal quotation marks omitted). In that context, even though materiality is an

                                          20   objective standard, the individualized nature of prescribing a drug precluded materiality from being

                                          21   a question common to the class.

                                          22          Similarly, cases consistent with Vioxx generally concern representations that differ for each

                                          23   proposed class member. For example, in Kaldenbach v. Mut. of Omaha Life Ins. Co., 178 Cal. App.

                                          24   4th 830, 846-47 (2009), the court denied class certification because the defendant, which sold

                                          25   insurance policies, made different statements and presentations to each customer. As such, no set

                                          26   of statements was common to the class. See also Fairbanks v. Farmers New World Life Ins. Co.,

                                          27   197 Cal. App. 4th 544, 562-65 (2011) (discussing and following Kaldenbach). Another example is

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                                           1   In re Yasmin & Yaz (Drospirenone) Mktg., Sales Practices & Products Liab. Litig., No. 09-2100,

                                           2   2012 WL 865041, at *20 (S.D. Ill. Mar. 13, 2012), which followed Vioxx and held that “[b]ecause

                                           3   YAZ is a prescription medication, the question of uniformity must consider representations made

                                           4   to each putative class member and her prescribing physician.” Id.

                                           5          Unlike Vioxx, this case presents specific alleged misrepresentations common to the class:

                                           6   Dole’s “All Natural” label statements. Dole did not make individualized representations to

                                           7   proposed class members, nor did proposed class members likely rely on the advice of a doctor or

                                           8   any other professional. Therefore, the objective inquiry into whether “a reasonable consumer

                                           9   would attach importance” to Dole’s label statements is a question common to the class. Hinojos v.

                                          10   Kohl’s Corp., 718 F.3d 1098, 1107 (9th Cir. 2013).
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                                          11          Likewise, Astiana itself, upon which Dole explicitly relies, is distinguishable. The plaintiffs
    United States District Court




                                          12   in Astiana sought certification of a much broader class than Brazil seeks here. In Astiana,

                                          13   “Plaintiffs challenge[d] over 90 different products labeled ‘All Natural,’ with different ingredients

                                          14   and different advertising campaigns, and which consequently inspire[d] different calculations in the

                                          15   minds of prospective customers.” Astiana, 291 F.R.D. at 508. No such problem exists here. Brazil

                                          16   only challenges 10 products labeled “All Natural Fruit” based only on their inclusion of ascorbic

                                          17   acid and citric acid. Dole does not assert that differences in its products’ labels cause prospective

                                          18   consumers to understand the representations differently. The court in Astiana was also concerned

                                          19   that proposed class members’ understanding of “All Natural” may differ based on the ingredient

                                          20   alleged to be unnatural. Id. Here, Dole does not contend that proposed class members’

                                          21   interpretation of “All Natural Fruit” differs between ascorbic acid and citric acid. In the end, the

                                          22   Astiana court granted class certification of a narrower class of “Kashi products containing calcium

                                          23   pantothenate, pyridoxine hydrochloride, and/or hexane-processed soy ingredients but labeled ‘All

                                          24   Natural.’” Id. at 509. The definition of “All Natural” was sufficiently common for those three

                                          25   ingredients such that the narrower class definition raised questions sufficiently common to the class

                                          26   to pass Rule 23(a)(2)’s commonality requirement. Similarly here, Brazil’s proposed class

                                          27   challenges 10 products based on only two ingredients. Whether the label statement “All Natural

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                                           1   Fruit” is material is a question common to the class.5

                                           2                  3. Typicality

                                           3           Under Rule 23(a)(3) the representative party must have claims or defenses that are “typical

                                           4   of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). Typicality is satisfied “when each

                                           5   class member’s claim arises from the same course of events, and each class member makes similar

                                           6   legal arguments to prove the defendants’ liability.” Rodriguez, 591 F.3d at 1124 (citations omitted).

                                           7   This requirement is “permissive and requires only that the representative’s claims are reasonably

                                           8   co-extensive with those of the absent class members; they need not be substantially identical.”

                                           9   Hanlon, 150 F.3d at 1020. Reasonably coextensive claims with absent class members will satisfy

                                          10   the typicality requirement, but the class must be limited to “those fairly encompassed by the named
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                                          11   plaintiff’s claims.” Dukes at 131 S. Ct. at 2550. “[C]lass certification is inappropriate where a
    United States District Court




                                          12   putative class representative is subject to unique defenses which threaten to become the focus of

                                          13   the litigation.” Hanlon, 976 F.2d at 508 (citations omitted). “The purpose of the typicality

                                          14   requirement is to assure that the interest of the named representative aligns with the interests of the

                                          15   class.” Id.

                                          16           Dole argues that Brazil’s claims are atypical because the class includes buyers of seven

                                          17   products he did not purchase. The Court is not persuaded. Brazil alleges that he purchased three of

                                          18   the ten products for which Brazil seeks to certify a class: Tropical Fruit – can, Mixed Fruit – cups,

                                          19   and Mixed Fruit – bag. See SAC ¶¶ 125, 153, 176. All products included in the proposed class

                                          20   definition have “All Natural Fruit” label statements and contain ascorbic acid and citric acid.

                                          21   Brazil’s legal theory is identical for all claims: Brazil alleges that Dole’s placement of its “All

                                          22   Natural Fruit” statement on the identified products was unlawful or misleading because the

                                          23   identified products contain ascorbic acid and citric acid. See Mot. at 1. Therefore, “other members

                                          24   have the same or similar injury, . . . the action is based on conduct which is not unique to the

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                                          26   5
                                                 Dole makes the same argument that individual class members may interpret “All Natural Fruit”
                                          27   differently under the Rule 23(b)(3) predominance inquiry. For the same reasons as stated above,
                                               the Court finds that common questions predominate despite the possibility that class members may
                                          28   have varying definitions of “All Natural Fruit.”
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                                           1   named plaintiffs, and . . . other class members have been injured by the same course of conduct.”

                                           2   Hanon, 976 F.2d at 508.

                                           3          Furthermore, the Court has already addressed at length the issue of whether Brazil has “the

                                           4   same or similar injury” as class members that bought other products in the context of standing on

                                           5   Dole’s Motion to Dismiss the SAC. See ECF No. 76, at 12-14. In its order on Dole’s motion to

                                           6   dismiss, the Court held that when “a plaintiff claims that he was misled by the improper use of the

                                           7   term ‘all natural’ on Dole Mixed Fruit in Cherry Gel, SAC ¶ 162, the injury he suffers as a result of

                                           8   that misrepresentation is not meaningfully distinguishable from the injury suffered by an individual

                                           9   who is misled by the use of the term ‘all natural’ on Dole Mixed Fruit in Black Cherry or Peach

                                          10   Gel, SAC ¶ 201.” Id. at 13. Although both of the products the Court used as examples are excluded
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                                          11   from the proposed class definition, the point remains the same. The injury Brazil allegedly suffered
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                                          12   from Dole’s allegedly unlawful or deceptive label statements on the three products Brazil

                                          13   purchased is not meaningfully distinguishable from the injury other class members suffered from

                                          14   purchasing the other three identified products, which have identical label statements and identical

                                          15   allegedly unnatural ingredients.

                                          16          Dole bases its typicality challenge on Judge Davila’s decision in Major v. Ocean Spray

                                          17   Cranberries, Inc., 5:12-CV-03067 EJD, 2013 WL 2558125, at *4 (N.D. Cal. June 10, 2013).

                                          18   However, the Major case involved unique facts that justified the court’s finding that typicality was

                                          19   lacking in that case. In Major, the proposed class was “broad and indefinite,” as it “would [have]

                                          20   include[d] any of Defendant’s products represented to contain no artificial colors, flavors or

                                          21   preservatives but which contained artificial colors, flavors or preservatives.” Id. The plaintiff in

                                          22   Major attempted to include entire product lines based on a single purchase, and the plaintiff

                                          23   “fail[ed] to link any of those products to any alleged misbranding issue” related to the plaintiff’s

                                          24   purchase. Id. Furthermore, the Major court observed “that the labels and nutrition claims on each

                                          25   of Defendant’s products may be unique to that product itself.” Id. The plaintiff purchased a

                                          26   pomegranate blueberry drink and alleged misrepresentations based on label language making

                                          27   specific claims about blueberries. Yet the plaintiff sought to certify a class that would include

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                                           1   products having label statements making no claims about blueberries. As the Major court

                                           2   explained, “[t]he evidence needed to prove Plaintiff’s claim that the Diet Sparkling Pomegranate

                                           3   Blueberry drink contained false or misleading labeling is not probative of the claims of unnamed

                                           4   class members who purchased products within the ‘Sparkling’ line that did not contain

                                           5   blueberries.” Id.

                                           6          In the instant case, all products included in the proposed class definition, including the

                                           7   product Brazil purchased, have “All Natural Fruit” label statements and contain ascorbic acid and

                                           8   citric acid. Therefore, rather than raising the problems encountered in Major, this case is much

                                           9   more similar to the multiple cases in this Circuit in which courts have found the typicality

                                          10   requirement met, even when the representative plaintiff did not purchase every identified product.
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                                          11   See, e.g., Astiana, 291 F.R.D. at 502-03; Ries, 287 F.R.D. at 539-40; Chavez v. Blue Sky Natural
    United States District Court




                                          12   Beverage Co., 268 F.R.D. 365, 377-78 (N.D. Cal. 2010). The Court thus finds that Brazil’s claims

                                          13   are typical of the proposed class.

                                          14                  4. Adequacy of Representation

                                          15          Rule 23(a)(4) permits class certification only if the “representative parties will fairly and

                                          16   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). In the Ninth Circuit, to test

                                          17   the adequacy of a class representative, courts ask two questions: “(1) do the named plaintiffs and

                                          18   their counsel have any conflicts of interest with other class members; and (2) will the named

                                          19   plaintiffs and their counsel prosecute the action vigorously on behalf of the class?” Staton, 327

                                          20   F.3d at 957 (citing Hanlon, 150 F.3d at 1020).

                                          21          Dole does not dispute that Brazil and his counsel will fairly and adequately protect the

                                          22   interests of the class. The Court finds that Brazil has no conflicts of interest with other class

                                          23   members. In addition, the Court holds that Brazil will vigorously prosecute this action, as he has

                                          24   previously served as a class representative for another class that was certified. See Brazil v. Dell

                                          25   Inc., No. 07-01700 RMW, 2010 WL 5387831 (N.D. Cal. Dec. 21, 2010). Finally, the Court agrees

                                          26   with Brazil that plaintiff’s counsel are well qualified for appointment as class counsel by virtue of

                                          27   their experience with other similar cases. The adequacy requirement is satisfied.

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                                           1          C. Rule 23(b)(2) Requirements

                                           2          To certify a (b)(2) class, the Court must find that “the party opposing the class has acted or

                                           3   refused to act on grounds that apply generally to the class, so that final injunctive relief or

                                           4   corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

                                           5   23(b)(2). Ordinarily, it follows that there is no need “to undertake a case-specific inquiry into

                                           6   whether class issues must predominate or whether class action is the superior method of

                                           7   adjudicating the dispute” under the other subsections of Rule 23(b). Dukes, 131 S. Ct. at 2558.

                                           8   Rather, “[p]redominance and superiority are self-evident.” Id. “Class certification under Rule

                                           9   23(b)(2) is appropriate only where the primary relief sought is declaratory or injunctive.” Ellis, 657

                                          10   F.3d at 986 (quoting Zinser v. Accufix Res. Inst., Inc., 253 F.3d 1180, 1195 (9th Cir.2001)). This
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                                          11   case exemplifies the kind of action that may be appropriate for certification under Rule 23(b)(2), at
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                                          12   least insofar as Brazil requests injunctive relief prohibiting defendants from engaging in their

                                          13   allegedly unlawful or deceptive labeling practices. See Dukes, 603 F.3d at 571. Those requests can

                                          14   be satisfied with “indivisible” equitable relief that benefits all class members at once, as the Rule

                                          15   suggests.

                                          16          Dole argues that the Court should not certify a Rule 23(b)(2) class because Brazil’s

                                          17   monetary damages are not “incidental to the injunctive or declaratory relief,” as required by Dukes.

                                          18   Dukes, 131 S. Ct. at 2557. However, Dukes dealt with a proposed class that sought equitable

                                          19   monetary relief under Rule 23(b)(2) in addition to an injunction. Id. The Supreme Court in Dukes

                                          20   held that the proposed Rule 23(b)(2) class could not be certified because the plaintiffs’ large claims

                                          21   for equitable monetary relief under the Rule 23(b)(2) class were not incidental to the injunctive

                                          22   relief sought. Id. In contrast, here Brazil’s monetary class claims will proceed under Rule 23(b)(3),

                                          23   which includes strict predominance and superiority requirements for class certification, and which

                                          24   has notice and opt-out requirements designed to facilitate the award of monetary damages to

                                          25   individual class members. See id. at 2559. Therefore, certification of the Rule 23(b)(2) class is

                                          26   granted for the purposes of declaratory and injunctive relief, but denied to the extent Brazil seeks

                                          27   monetary damages, which are more properly brought under Rule 23(b)(3). See Ries, 287 F.R.D. at

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                                           1   540-42, later decertified on adequacy grounds, Ries v. Arizona Beverages USA LLC, No. 10-01139

                                           2   RS, 2013 WL 1287416, at *8 (N.D. Cal. Mar. 28, 2013) (certifying a Rule 23(b)(2) class in a

                                           3   similar case only for the purposes of declaratory and injunctive relief).

                                           4          Dole also asserts that Brazil no longer has standing because he “stopped buying Dole

                                           5   products six months ago.” Opp’n at 24. As this Court recently addressed, “[s]everal courts in this

                                           6   district have held in similar cases that to establish standing, a plaintiff must allege that he intends to

                                           7   purchase the products at issue in the future.” Werdebaugh v. Blue Diamond Growers, No. 12-CV-

                                           8   2724-LHK, 2014 WL 2191901, at *9 (N.D. Cal. May 23, 2014) (quotations and citations omitted).

                                           9   In Werdebaugh, the Court declined to certify an injunctive class because the Plaintiff did not

                                          10   supply any testimony that he would purchase any of the identified products in the future. Here,
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                                          11   however, Brazil has testified that, while he “certainly would be more skeptical of what is stated on
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                                          12   packaged items,” he would still be willing to buy a Dole product now. ECF No. 106-1, Vetesi Decl.

                                          13   Ex. 1, at 174:17-175:6. Brazil also acknowledged in his deposition that he continues to have brand

                                          14   loyalty to Dole. Id. (“Q. Okay. So now would you still have brand loyalty to Dole? A. I would say

                                          15   that probably, yeah.”). The Court therefore finds that Brazil continues to have standing to assert his

                                          16   23(b)(2) class claims. Accordingly, the Court certifies an injunctive class under 23(b)(2).

                                          17          D. Rule 23(b)(3) Requirements

                                          18          For a class action to be certified under Rule 23(b)(3), the class representative must show

                                          19   that “the questions of law or fact common to the members of the class predominate over any

                                          20   questions affecting only individual members and that a class action is superior to other available

                                          21   methods for the fair and efficient adjudication of the controversy.” Fed. R. Civ. P. 23(b)(3)

                                          22   (emphases added). The Court first addresses predominance before turning to superiority.

                                          23              1. Predominance

                                          24          Brazil seeks to certify a nationwide class alleging California state law claims. Under Rule

                                          25   23(b)(3), Brazil must show “that the questions of law or fact common to class members

                                          26   predominate over any questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3).

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                                           1           “The Rule 23(b)(3) predominance inquiry” is meant to “tes[t] whether proposed classes are

                                           2   sufficiently cohesive to warrant adjudication by representation.” Amchem Prods., Inc. v. Windsor,

                                           3   521 U.S. 591, 623 (1997). The Ninth Circuit has held that “there is clear justification for handling

                                           4   the dispute on a representative rather than an individual basis” if “common questions present a

                                           5   significant aspect of the case and they can be resolved for all members of the class in a single

                                           6   adjudication . . . .” Hanlon, 150 F.3d at 1022. In ruling on a motion for class certification based on

                                           7   Rule 23(b)(3), the district court must conduct a rigorous analysis to determine whether the class

                                           8   representatives have satisfied both the predominance and superiority requirements. See Zinser, 253

                                           9   F.3d at 1186.

                                          10          Dole raises three types of predominance arguments. The first—that the term “All Natural”
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                                          11   has no common meaning—is identical to Dole’s commonality argument regarding the same term.
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                                          12   This argument fails to defeat Brazil’s showing that common questions predominate, as required by

                                          13   Rule 23(b)(3), for the same reasons set forth above regarding commonality under Rule 23(a)(2).

                                          14   Therefore, for the reasons stated in the commonality section above, the Court concludes that

                                          15   common questions will predominate on all liability questions, including issues of materiality and

                                          16   reliance. The Court need not decide whether the misrepresentations were in fact material. The

                                          17   Court merely concludes that these liability questions are common to all class members.

                                          18          The Court focuses its discussion in this section on Dole’s remaining predominance

                                          19   contentions. The Court first discusses choice-of-law issues involved in certifying a nationwide

                                          20   class before turning to Dole’s predominance challenges to Brazil’s proposed damages models.

                                          21                   a. Nationwide Class Allegations

                                          22          Dole argues that were the Court to certify the proposed class under Rule 23(b)(3),

                                          23   individual issues would predominate as the Court would be obliged to apply the laws of 50

                                          24   different states. Opp’n at 25. The Court agrees, and concludes that because the proposed

                                          25   nationwide class fails the predominance requirement under Rule 23(b)(3), certification of such a

                                          26   class would be improper.

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                                           1          In a CAFA diversity action, this Court applies California’s choice of law rules. See Klaxon

                                           2   Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941); Bruno, 280 F.R.D. at 538 n.7. “Under

                                           3   California’s choice of law rules, the class action proponent bears the initial burden to show that

                                           4   California has significant contact or significant aggregation of contacts to the claims of each class

                                           5   member.” Mazza, 666 F.3d at 589. “Once the class action proponent makes this showing, the

                                           6   burden shifts to the other side to demonstrate that foreign law, rather than California law, should

                                           7   apply to class claims.” Id. at 590.

                                           8          “[C]onduct by a defendant within a state that is related to a plaintiff’s alleged injuries and is

                                           9   not ‘slight and casual’ establishes a ‘significant aggregation of contacts, creating state interests.’”

                                          10   AT&T Mobility LLC v. AU Optronics Corp., 707 F.3d 1106, 1113 (9th Cir. 2013) (citations
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                                          11   omitted). Dole does not dispute that California has sufficient contacts, and the Court in its latest
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                                          12   motion to dismiss order assumed that Brazil had met this basic constitutional requirement.

                                          13   Moreover, California has a constitutionally sufficient aggregation of contacts to the claims of each

                                          14   putative class member in this case because Dole’s corporate headquarters and a significant portion

                                          15   of the proposed class members are located in California. See Mazza, 666 F.3d at 590. Accordingly,

                                          16   the Court finds that Brazil has met his initial burden. “California has a constitutionally significant

                                          17   aggregation of contacts to the claims of each putative class member in this case,” and application

                                          18   of California law here poses no constitutional concerns. Mazza, 666 F.3d at 591; see also

                                          19   Clothesrigger, Inc. v. GTE Corp., 191 Cal. App. 3d 605 (1987) (concluding application of

                                          20   California law was constitutionally permissible where defendant’s principal offices were in

                                          21   California and the allegedly fraudulent misrepresentations emanated from California); In re

                                          22   Charles Schwab Corp. Sec. Litig., 264 F.R.D. 531, 538 (N.D. Cal. 2009) (location of the

                                          23   defendant’s headquarters is also a relevant factor in significant contact or aggregation of contacts

                                          24   analyses).

                                          25          Because the Court is satisfied that California has sufficient contacts with the proposed class

                                          26   claims, the burden is on Dole to show “that foreign law, rather than California law, should apply.”

                                          27   Mazza, 666 F.3d at 590. California law may be applied on a class wide basis only if “the interests

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                                           1   of other states are not found to outweigh California’s interest in having its law applied.” Id.

                                           2   (quoting Wash. Mut. Bank, FA v. Superior Court, 24 Cal. 4th 906, 921 (2001)). To determine

                                           3   whether the interests of other states outweigh California’s interest, courts administer the following

                                           4   three-step government interest test. The court must first determine whether the law of the other

                                           5   states is materially different from California law. Mazza, 666 F.3d at 590. Second, if there are

                                           6   differences, the court determines whether the other state has an interest in having its law applied.

                                           7   Id. at 591-92. Third, if another state has an interest, the court determines which state’s interest

                                           8   would be most impaired if its policy were subordinated to the law of another state. Id. at 593. In

                                           9   Mazza, the Ninth Circuit vacated a district court’s certification of a nationwide class based on the

                                          10   same California consumer protection laws at issue here—the UCL, FAL, and CLRA. Id. at 594.
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                                          11   The facts and claims here closely parallel those in Mazza, and consequently so does the Court’s
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                                          12   analysis.

                                          13          Dole has met its burden on the first step of California’s choice-of-law analysis, as Brazil

                                          14   brings claims under the same California consumer protection statutes as the plaintiffs in Mazza: the

                                          15   UCL, FAL, and CLRA. This case presents the same material differences between California’s

                                          16   consumer protection regime and that of other states that dissuaded the Ninth Circuit from applying

                                          17   California law to other states, see Mazza, 666 F.3d at 591, including: (1) injury requirements, (2)

                                          18   deception requirements, (3) scienter, (4) reliance, (5) pre-filing notice requirements, (6) statutes of

                                          19   limitation, (7) restrictions on consumer protection class actions, and (8) remedies.

                                          20          As for the second step, the Court finds that the other 49 states each have an interest in

                                          21   applying their own law. As the Ninth Circuit explained in Mazza, “each foreign state has an interest

                                          22   in applying its law to transactions within its borders,” which means that “if California law were

                                          23   applied to [a nationwide class], foreign states would be impaired in their ability to calibrate liability

                                          24   to foster commerce.” 666 F.3d at 593. This reflects the “principle of federalism that each State may

                                          25   make its own reasoned judgment about what conduct is permitted or proscribed within its borders.”

                                          26   Id. at 591 (quoting State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 422 (2003)).

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                                           1          Here, the purported nationwide class here consists of members from 50 states: Brazil

                                           2   alleges that consumers from each of the 50 states were subjected to misleading and unlawful

                                           3   representations on which they relied in purchasing Dole fruit products. Dole denies that its

                                           4   products are misleading or unlawful. Given the parties’ respective positions, all 50 states have an

                                           5   interest in having their own laws applied to the consumer transactions that took place within their

                                           6   borders. Gianino v. Alacer, 846 F. Supp. 2d. 1096, 1102 (C.D. Cal. 2012). Each state has “an

                                           7   interest in being able to delineate the appropriate standard of liability and the scope of recovery

                                           8   based on its understanding of the balance between the interests of individuals and corporate entities

                                           9   operating within its territory.” Frezza v. Google Inc., No. 12-237, 2013 WL 1736788, at *7 (N.D.

                                          10   Cal. Apr. 22, 2013).
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                                          11          At the final step, where the states have conflicting policies, the Court must determine which
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                                          12   state’s interest would be more impaired if its policy was subordinated to the policy of the other

                                          13   state. See Mazza, 666 F.3d at 593-94. This last step of the analysis does not permit the Court to

                                          14   weigh the conflicting state interests to determine which conflicting state law manifests the “better”

                                          15   or “worthier” social policy. Id. (citing McCann v. Foster Wheeler LLC, 48 Cal.4th 68, 97 (2010)).

                                          16   Rather, “the Court must recognize the importance of federalism and every state’s right to protect its

                                          17   consumers and promote those businesses within its borders.” Gianino, 846 F. Supp. 2d. at 1103.

                                          18   Here, for the reasons stated below, for purchases made outside California, the Court finds that other

                                          19   states’ interests would be more impaired by applying California law than would California’s

                                          20   interests by applying other states’ laws.

                                          21          California undoubtedly has a significant interest in applying its own consumer protection

                                          22   laws to transactions within California. Dole is headquartered in Westlake Village, California, sells

                                          23   many products in this state, and likely made the corporate decisions regarding packaging, labeling,

                                          24   and marketing of Dole products in California. However, California’s interest in applying its law to

                                          25   nonresidents who purchased Dole products in other states is more attenuated. See Edgar v. MITE

                                          26   Corp., 457 U.S. 624, 644 (1982).

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                                           1           California courts recognize that the predominant interest in “regulating or affecting conduct

                                           2   within its borders” lies with the state which is “the place of the wrong.” Hernandez v. Burger, 102

                                           3   Cal. App. 3d 795, 801–02 (1980). The place of the wrong is the geographic location where the

                                           4   misrepresentations were communicated to the consumer. See McCann, 48 Cal. 4th at 94 n.12. For

                                           5   nonresident consumers of Dole products, the place of the wrong is not California, but rather the

                                           6   state in which each consumer resides. See Mazza, 666 F.3d at 593-94 (“[T]he last events necessary

                                           7   for liability as to the foreign class members—communication of the advertisements to the

                                           8   claimants and their reliance thereon in purchasing vehicles—took place in the various foreign

                                           9   states, not in California.”).

                                          10           Dole’s liability accrued when Brazil and class members purchased Dole fruit products
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                                          11   containing the allegedly deceptive and misleading label statements. Thus “the place of the wrong”
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                                          12   in this case is the point of purchase by each class member—in other words, in each of the 50 states.

                                          13   Each state has an interest in “protecting their consumers from in-state injuries caused by a

                                          14   California corporation doing business within their borders and in delineating the scope of recovery

                                          15   for the consumers under their own laws.” Gianino, 846 F. Supp. 2d at 1103. Plaintiff has identified

                                          16   no countervailing California interest that outweighs the other states’ interest in effecting their

                                          17   policy choices, and the Ninth Circuit has held that under such circumstances, “California’s interest

                                          18   in applying its law to residents of foreign states is attenuated.” Mazza, 666 F.3d at 594.

                                          19           Accordingly, the Court concludes that each other state would be impaired in its ability to

                                          20   protect consumers within its borders if California law were to be applied to all claims of the

                                          21   nationwide class. Each nonresident class member’s claims should be governed by and decided

                                          22   under the consumer protection laws of the states in which the various class members reside and in

                                          23   which the transactions took place. Because adjudication of the nationwide claims will require

                                          24   application of the laws of 50 states, common questions of law would not predominate for the

                                          25   proposed nationwide class, as is required by Rule 23(b)(3). Significantly different legal issues will

                                          26   arise out of the claims of class members from the various states, and these different legal issues

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                                           1   eclipse any common issues of law that exist. Certification of the nationwide class under California

                                           2   law therefore would be improper.

                                           3          In his reply, Brazil alternatively requests certification of a California-only class. Reply at

                                           4   15. If the class is comprised entirely of California consumers, only California law need be applied.

                                           5   For such a class, common issues would predominate over individual ones. Certification would be

                                           6   proper if all other requirements for class certification are met. Accordingly, the Court narrows the

                                           7   proposed class to exclusively California consumers.

                                           8                  b. Damages under the UCL, FAL, and CLRA

                                           9          A Plaintiff that seeks certification under Rule 23(b)(3) must present a damages model that

                                          10   is consistent with its liability case. See Comcast, 133 S. Ct. at 1433 (rejecting class certification
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                                          11   where damages model accounted for four possible theories of antitrust injury when district court
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                                          12   had limited case to single theory of antitrust impact). Plaintiff’s damages “model purporting to

                                          13   serve as evidence of damages in this class action must measure only those damages attributable to

                                          14   [the defendant’s conduct]. If the model does not even attempt to do that, it cannot possibly

                                          15   establish that damages are susceptible of measurement across the entire class for purposes of Rule

                                          16   23(b)(3).” Id. (internal citations and quotations omitted).

                                          17          Comcast has been interpreted as “reiterat[ing] a fundamental focus of the Rule 23 analysis:

                                          18   The damages must be capable of determination by tracing the damages to the plaintiff's theory of

                                          19   liability. So long as the damages can be determined and attributed to a plaintiff’s theory of liability,

                                          20   damage calculations for individual class members do not defeat certification.” Lindell v. Synthes

                                          21   USA, No. 11-02053, 2014 WL 841738, at *14 (E.D. Cal. Mar. 4, 2014). According to the Ninth

                                          22   Circuit, “plaintiffs must be able to show that their damages stemmed from the defendant’s actions

                                          23   that created the legal liability.” Leyva v. Medline Indus., Inc., 716 F.3d 510, 514 (9th Cir. 2013).

                                          24          Here, the Court first considers what damages are recoverable as a result of Dole’s alleged

                                          25   mislabeling and then assesses whether Brazil has presented a damages model capable of isolating

                                          26   those damages.

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                                           1          The UCL, FAL and CLRA authorize a trial court to grant restitution to private litigants

                                           2   asserting claims under those statutes. Colgan v. Leatherman Tool Grp., Inc., 135 Cal. App. 4th 663,

                                           3   694 (2006). Restitutionary relief is an equitable remedy, and its purpose is “to restore the status quo

                                           4   by returning to the plaintiff funds in which he or she has an ownership interest.” Korea Supply Co.

                                           5   v. Lockheed Martin Corp., 29 Cal. 4th 1134, 1149 (2003); see also Cortez v. Purolator Air

                                           6   Filtration Products Co., 23 Cal. 4th 163, 177 (2000).

                                           7          The proper measure of restitution in a mislabeling case is the amount necessary to

                                           8   compensate the purchaser for the difference between a product as labeled and the product as

                                           9   received. Colgan, 135 Cal. App. 4th at 700 (rejecting restitutionary award for products “Made in

                                          10   U.S.A.” where expert “did not attempt to quantify either the dollar value of the consumer impact or
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                                          11   the advantage realized by [the defendant]”). This calculation contemplates the production of
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                                          12   evidence that attaches a dollar value to the “consumer impact or advantage” caused by the unlawful

                                          13   business practices. Id. Restitution can then be determined by taking the difference between the

                                          14   market price actually paid by consumers and the true market price that reflects the impact of the

                                          15   unlawful, unfair, or fraudulent business practices. See, e.g., Ben & Jerry’s Homemade, 2014 WL

                                          16   60097, at *12–13 (rejecting class certification for “all natural” ice cream labels based in part on

                                          17   insufficient proof of damages). Accordingly, Brazil must present a damages methodology that can

                                          18   determine the price premium attributable to Dole’s use of the “All Natural Fruit” label statements.

                                          19          Brazil’s damages expert, Dr. Oral Capps, presents three damages models: (1) a Full Refund

                                          20   Model, (2) a Price Premium Model, and (3) a Regression Model. The Court addresses each in turn.

                                          21                                  i.     Full Refund Model

                                          22          Dr. Capps first proposes refunding the entire purchase or “register” price of the challenged

                                          23   product. Declaration of Oral Capps (“Capps Decl.”), ECF No. 101-9, ¶¶ 10-12. This is not the

                                          24   proper measure of damages. As discussed above, “[t]he difference between what the plaintiff paid

                                          25   and the value of what the plaintiff received is a proper measure of restitution.” Vioxx, 180 Cal.

                                          26   App. 4th at 131; see also Werdebaugh, 2014 WL 2191901, at *22; Ogden v. Bumble Bee Foods,

                                          27   LLC, No. 12-01828, 2014 WL 27527, at *13 (N.D. Cal. Jan. 2, 2014) (“[A] claim for restitution

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                                           1   requires that Ogden also present evidence of the difference in value between what she spent and

                                           2   what she received.”). Dr. Capps’s full refund model is deficient because it is based on the

                                           3   assumption that consumers receive no benefit whatsoever from purchasing the identified products.

                                           4   This cannot be the case, as consumers received benefits in the form of calories, nutrition, vitamins,

                                           5   and minerals. See In re POM Wonderful LLC, No. 10-2199, 2014 WL 1225184, at *3 (C.D. Cal.

                                           6   Mar. 25, 2014) (rejecting a full refund model because consumers benefited from consumption of

                                           7   the defendant’s products). Class members may not “retain some unexpected boon, yet obtain the

                                           8   windfall of a full refund and profit from a restitutionary award.” Id. Because the California

                                           9   consumer protection statutes upon which Brazil brought this case authorize the recovery only of

                                          10   whatever price premium is attributable to Dole’s use of the allegedly misleading label statements,
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                                          11   Dr. Capps’ Full Refund Model is inconsistent with Plaintiff’s liability case and must be rejected.6
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                                          12                                  ii.     Price Premium Model
                                          13          Dr. Capps next proposes a Price Premium Model. Capps Decl. ¶¶ 13-17. Under this
                                          14   approach, Dr. Capps compares the price of the identified Dole products to the price of allegedly
                                          15   comparable products that do not have the “All Natural” label statements and calculates the entire
                                          16   price difference as restitution for Dole’s alleged misrepresentations. Id. ¶ 14.
                                          17          However, the Price Premium Model runs afoul of Comcast. Dr. Capps has no way of
                                          18   linking the price difference, if any, to the allegedly unlawful or deceptive label statements or
                                          19   controlling for other reasons why allegedly comparable products may have different prices.
                                          20   “Rather than answer the critical question why that price difference exist[s], or to what extent it [is]

                                          21   the result of [Dole’s] actions, [Dr. Capps] instead assumed that 100% of that price difference [is]

                                          22   attributable to [Dole’s] alleged misrepresentations.” POM, 2014 WL 1225184, at *5.

                                          23          Brazil’s deposition testimony also casts doubt on the Price Premium Model. Brazil himself

                                          24   attributes factors other than the allegedly deceptive label statements, such as brand name, to the

                                          25   allegedly higher prices of the identified Dole products. ECF No. 106-1, Vetesi Decl. Ex. A, Brazil

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                                                 Dr. Capps also proposes an identical disgorgement model. This is rejected for the same reasons as
                                          27   the Full Refund Model. See Ogden, 2014 WL 27527, at *13; Werdebaugh, 2014 WL 2191901, at
                                          28   *22, n.9.
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                                           1   Dep. at 218:6-10 (“Q. Okay. So you don't believe that you paid a premium based on the language

                                           2   that you circled earlier today? A. Do I think they charged me more because it was all natural, I

                                           3   don't believe that that was the case.”); id. at 217:12-218:6 (“it is my expectation that I would pay

                                           4   more for a named brand . . . than I would for a generic brand.”). Brazil also acknowledges that he

                                           5   has brand loyalty to Dole, that he still may buy Dole products even after discovering the alleged

                                           6   misrepresentations, and that, for him, price was not an important factor. Id. at 174:17-175:6; id. at

                                           7   216:16-23.

                                           8           Furthermore, there is additional evidence in the record that, to the extent that there is any

                                           9   price difference between the identified Dole products and allegedly comparable products, the price

                                          10   difference can be explained by factors other than the alleged label misrepresentations. For example,
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                                          11   Dole’s Vice President of Marketing, David Spare, testifies that “[w]hile private label products are
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                                          12   competitors, Dole does not consider them to be comparable products because Dole uses top quality

                                          13   fruit and has high specifications for fruit attributes, such as the number of broken fruit pieces, the

                                          14   fruit texture, and the color of the fruit. The private label products, by contrast, emphasize low price

                                          15   over quality.” ECF No. 104-6, Spare Decl. ¶ 5. In addition, comparing a specific Dole product to

                                          16   an allegedly comparable Safeway Kitchen product, Mr. Spare states that “the Safeway Kitchen

                                          17   Mandarin Oranges product is packed in water, while Dole’s Mandarin Oranges are packed in 100%

                                          18   juice.” Id. ¶ 6. This difference is significant because “[i]t is more expensive . . . to use juice instead

                                          19   of water or syrup.” Id. ¶ 7.

                                          20           The Price Premium Model’s inability to account for any differences between the identified

                                          21   Dole products and Dr. Capps’ chosen comparable products, or for any factors that may cause

                                          22   consumers to prefer the identified Dole products over other identical products—such as brand

                                          23   loyalty or quality differences between brand and generic products—renders the Price Premium

                                          24   Model insufficient under Comcast. As Judge Dean Pregerson summarized in the POM case, “the

                                          25   Price Premium model simply calculates what the price difference [is]. This damages ‘model’ does

                                          26   not comport with Comcast’s requirement that class-wide damages be tied to a legal theory, nor can

                                          27   this court conduct the required ‘rigorous analysis’ where there is nothing of substance to analyze.”

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                                           1   POM, 2014 WL 1225184, at *5. Therefore, because the Price Premium Model does not offer a

                                           2   class-wide measure of damages that is tied to the proper legal theory, the Price Premium Model

                                           3   does not comply with the predominance requirement of Rule 23(b)(3). Comcast, 133 S. Ct. at 1430.

                                           4                                  iii.    Regression Model

                                           5          Dr. Capps’ final proposed damages model is an “econometric or regression analysis,” (“the

                                           6   Regression Model”). Capps Decl. ¶ 18. “Regression analysis involves the relationship between a

                                           7   variable to be explained, known as the ‘dependent variable,’ such as the quantity demanded of a

                                           8   particular good or the price of a particular good, and additional variables that are thought to

                                           9   produce or to be associated with the dependent variable, known as the ‘explanatory’ or

                                          10   ‘independent’ variables. . . . Regression analysis may be useful in determining whether a particular
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                                          11   effect is present as well as in measuring the magnitude of a particular effect.” Id. ¶ 19. Dr. Capps
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                                          12   explains: “It is well documented in the economics literature that commonly recognized factors are

                                          13   associated with sales, the dependent variable in the regression analyses, namely price of the

                                          14   product, prices of competing and complementary products, income, advertising, seasonality, and

                                          15   regional differences. . . . By controlling for these factors and considering differences in sales of

                                          16   Dole fruit products before and after the labeling of the language ‘All Natural Fruit,’ a quantitative

                                          17   measure of damages in this litigation may be provided.” Id. ¶ 20. In other words, Dr. Capps

                                          18   proposes to determine Dole’s gains from its alleged misrepresentations by examining sales of the

                                          19   identified products before and after Dole placed the alleged misrepresentations on its product

                                          20   labels, using regression analysis to control for other variables that could otherwise explain changes

                                          21   in Dole’s sales.

                                          22          As outlined above, Comcast requires that “any model supporting a plaintiff's damages case

                                          23   must be consistent with its liability case.” Comcast, 133 S. Ct. at 1433 (quotation omitted). More

                                          24   specifically, Comcast states that the plaintiff’s damages “model purporting to serve as evidence of

                                          25   damages in this class action must measure only those damages attributable to [the defendant’s

                                          26   conduct].” Id. “Calculations need not be exact,” id., and courts within this district have interpreted

                                          27   Comcast as “not articulat[ing] any requirement that a damage calculation be performed at the class

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                                           1   certification stage,” In re Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, 2013 WL

                                           2   5429718, at *22 (N.D. Cal. June 20, 2013), report and recommendation adopted, MDL No. 1917,

                                           3   2013 WL 5391159 (N.D. Cal. Sept. 24, 2013). Nevertheless, the plaintiff must provide enough

                                           4   detail for the court to determine that the plaintiff’s damages model is “consistent with its liability

                                           5   case,” Comcast, 133 S. Ct. at 1433; see also Chavez, 268 F.R.D. at 379 (“At class certification,

                                           6   plaintiff must present a likely method for determining class damages, though it is not necessary to

                                           7   show that his method will work with certainty at this time.” (internal quotation marks omitted)).

                                           8           The Court finds that Dr. Capps’ Regression Model sufficiently ties damages to Dole’s

                                           9   alleged liability under Comcast. Dr. Capps’ Regression Model isolates the effect of the alleged

                                          10   misrepresentation by controlling for all other factors that may affect the price of Dole’s fruit cups
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                                          11   and the volume of Dole’s sales. For example, and significantly, the Regression Model compares
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                                          12   data on identical Dole products: the product before the label statement was introduced, and the

                                          13   same product after its label included the alleged misrepresentation. See Capps Decl. ¶¶ 20, 21. This

                                          14   distinguishes the Regression Model from the damages model rejected in POM, 2014 WL 1225184,

                                          15   at *5, and the Price Premium Model found insufficient here, because the Regression Model ensures

                                          16   that factors like brand loyalty and product quality remain constant. The Regression Model also

                                          17   controls for variables such as Dole’s advertising expenditures, the prices of competing and

                                          18   complementary products, the disposable income of consumers, and population. Id. ¶ 21. Therefore,

                                          19   as Comcast contemplates, Dr. Capps’ Regression Model traces damages to Dole’s alleged liability

                                          20   by accounting for several factors other than the alleged misbranding that might influence changes

                                          21   in price or sales.

                                          22           Dole cites two previous cases in which Dr. Capps’ proposed methodologies were rejected.

                                          23   See Ogden, 2014 WL 27527, at *13; Kottaras v. Whole Foods Markets, Inc., 281 F.R.D. 16, 25

                                          24   (D.D.C. 2010). However, both cases are distinguishable.

                                          25           In Ogden, this Court found summary judgment proper with respect to plaintiffs’ damages

                                          26   claims because rather than calculating damages, Dr. Capps had only “stated that he could provide

                                          27   such an estimate and offered a general description of several methods he might use to do so.”

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                                           1   Ogden, 2014 WL 27527, at *13. The Court concluded that Dr. Capps’ “description of methodology

                                           2   [was] not evidence of the proper amount of restitution in [that] case.” Id. The Court’s grant of

                                           3   summary judgment to the defendants in Ogden was based on the fact that discovery had closed and

                                           4   the plaintiff had neither “explain[ed] her failure to provide any evidence of the actual amount of

                                           5   restitution to which she [was] entitled, nor [requested] further discovery” on the issue. Id.

                                           6          Here, Dole argues that the Court should deny class certification because Dr. Capps has not

                                           7   yet run his regressions. Opp’n at 17-19. Brazil counters that Dole has not provided the necessary

                                           8   discovery for Dr. Capps to finish his analysis. As an initial matter, Ogden is distinguishable

                                           9   because discovery has yet to close in this case. See ECF No. 78, at 2 (setting fact and expert

                                          10   discovery cut-offs of July 10, 2014). Furthermore, Dole did not produce the discovery necessary
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                                          11   for Dr. Capps’ analysis before class certification was briefed between January 31, 2014 and March
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                                          12   27, 2014. Dole’s statements in the parties’ March 7, 2014 Discovery Dispute Joint Report #1

                                          13   (“DDJR #1”) to Magistrate Judge Lloyd are revealing. As Dole stated in that filing:

                                          14          The issue is timing. Producing sensitive financial data and documents before a class
                                                      has been certified is premature, as this information pertains solely to damages.
                                          15          Plaintiff effectively admits as much, because he filed his motion for class
                                                      certification without such information, so it cannot have been relevant to class
                                          16          issues. That motion for class certification is set for hearing on April 17, 2014.
                                          17          That said, given the other impending dates (e.g., expert discovery cutoff), Dole
                                                      offered to produce non-privileged financial data and documents after the April 17,
                                          18          2014 class certification hearing. This would provide Plaintiff with adequate time to
                                                      review and analyze the documents prior to the June 13, 2014 Opening Expert
                                          19          Report deadline. Plaintiff declined that offer.
                                          20   ECF No. 113, at 2.7 Id. at 3. Dole cannot use damages discovery as both a sword and a shield. In its

                                          21   DDJR #1, Dole claims that it need not produce discovery relevant to damages before class

                                          22   certification because the discovery is not relevant to class certification. Yet, Dole opposes class

                                          23   certification on the basis that Dr. Capps has not performed his regression analysis. According to

                                          24   Brazil, Dr. Capps cannot perform his regression analysis without the discovery Dole refused to

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                                          26     Dole also contested the relevance of producing the 2004-2007 labels for the identified products,
                                               which Brazil contends are relevant to Dr. Capps’ damages calculation. Magistrate Judge Lloyd
                                          27   found that as to the labels, “even given the relatively low threshold for relevance at the discovery
                                               stage, Brazil fail[ed] to make an adequate showing” because his assertions of relevance were
                                          28   “entirely conclusory.” ECF No. 123, at 3.
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                                           1   produce. On April 1, 2014, Magistrate Judge Lloyd compelled the production of such discovery by

                                           2   April 7, 2014, after class certification had been fully briefed. Consequently, the Court cannot credit

                                           3   Dole’s arguments that Dr. Capps’ analysis is insufficient under Comcast when Dole itself

                                           4   contributed to Dr. Capps’ failure to complete his regression analysis. Nor can the Court accept

                                           5   Dole’s contention that Comcast requires Dr. Capps to complete his regression analysis when Dole

                                           6   argued the opposite to Magistrate Judge Lloyd.

                                           7          As to the Kottaras case cited by Dole, the court in Kottaras rejected Dr. Capps’ proposed

                                           8   method of showing “monetary loss attributable to the anti-competitive aspect of the merger

                                           9   between” two supermarket chains. 281 F.R.D. at 22. The court initially noted that the plaintiff was

                                          10   not required to “offer evidence as to the amount of damages at [the class certification] stage;” but
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                                          11   rather she only needed to “show that the fact of damage [could] be proven using common
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                                          12   evidence.” Id.

                                          13          Subjecting Dr. Capps’ proposed regression analysis to “rigorous analysis,” the Kottaras

                                          14   court rejected the proposed model because: (1) while it may have been sufficient to calculate what

                                          15   losses consumers suffered as a result of the merger, the model failed “to take into account any

                                          16   benefits customers may have received thereby”; and (2) the proposed model was “not sufficiently

                                          17   developed to meet Plaintiff's burden of showing that common questions predominate over

                                          18   individual ones, as required by Rule 23(b)(3).” Id. at 24, 26. The court quoted a case from this

                                          19   district for the proposition that courts are “increasingly skeptical of plaintiffs’ experts who offer

                                          20   only generalized and theoretical opinions that a particular methodology may serve this purpose

                                          21   without also submitting a functioning model that is tailored to market facts in the case at hand.” Id.

                                          22   at 27–27 (citing In re Graphics Processing Units Antitrust Litigation, 253 F.R.D. 478, 492 (N.D.

                                          23   Cal. 2008)).

                                          24          For reasons already discussed, Kottaras is distinguishable. Dr. Capps’ regression would

                                          25   control for other factors (such as price, seasonality, and regional differences) that could explain

                                          26   changes in Dole’s sales figures that may otherwise erroneously be attributed to Dole’s label

                                          27   statements. Moreover, the Regression Model compares data on identical Dole products—the

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                                           1   product before the label statement was introduced, and the same product after its label included the

                                           2   alleged misrepresentation. See Capps Decl. ¶¶ 20, 21. Dr. Capps’ proposed model in Kottaras

                                           3   accounted for the adverse price impacts of a supermarket merger but completely omitted any

                                           4   measurement of the benefits of such a merger. Kottaras, 281 F.R.D. at 23-24. By contrast, the

                                           5   regression model here contemplates factors other than the alleged misbranding that might influence

                                           6   market price, including “expenditures associated with the advertising and promotion” of the

                                           7   products at issue, prices of complementary products, disposable personal income of consumers,

                                           8   and population. Capps Decl. ¶ 21.

                                           9          Dole attacks the methodological rigor of the Regression Model on only one basis. Dole

                                          10   argues that the Regression Model raises individual issues because, according to Dole, the model
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                                          11   will be unable to account for price differences based on the nature and location of the outlet in
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                                          12   which they are sold, or the availability of discounts. Opp’n at 22. Because of these variations, Dole

                                          13   contends, different consumers allegedly suffered different amounts of damages. However, Dole

                                          14   does not explain how these regional price differences would impact the actual measure of damages

                                          15   in the Regression Model: price changes within regions that correspond to the introduction and/or

                                          16   removal of the allegedly misleading label statements. For example, if a Dole fruit cup costs $4.00

                                          17   in San Francisco and $3.00 in Sacramento, this $1.00 unit disparity does not necessarily influence

                                          18   how the price would change as a result of amending the product’s label to claim that the fruit cup is

                                          19   “All Natural.” If both prices increase by $0.10, purchasers in San Francisco and Sacramento have

                                          20   both suffered the same amount in damages, $0.10. Even if the price increase is proportional, the

                                          21   price change will still result in largely similar damages to both purchasers: if prices increase by

                                          22   5%, the purchaser in San Francisco will pay $0.20 more per fruit cup, and the purchaser in

                                          23   Sacramento $0.15. Regardless, damages can be tied to the liability theory and calculated on a

                                          24   classwide basis.

                                          25          Furthermore, to the extent that Dole objects to regional price disparities, and not differences

                                          26   in price changes, Dr. Capps’ Regression Model controls for any such regional differences to ensure

                                          27   that the resulting damages figures only cover the benefit Dole received from its label statements.

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                                           1   Capps Decl. ¶ 21. Comcast establishes that “[c]alculations need not be exact, but at the class-

                                           2   certification stage (as at trial), any model supporting a plaintiff's damages case must be consistent

                                           3   with its liability case.” Comcast, 133 S. Ct. at 1433 (citation and quotation omitted). Dr. Capps’

                                           4   Regression Model comports with this requirement. Even if there are regional differences as Dole

                                           5   contends, the Regression Model is sufficiently precise under Comcast and the model’s ability to

                                           6   control for other factors that could affect Dole’s sales ensures that Dr. Capps’ damages figures are

                                           7   tied only to Dole’s liability. Therefore, because Brazil has advanced a damages methodology that is

                                           8   capable of “tracing the damages to the plaintiff's theory of liability,” Brazil has successfully shown

                                           9   that questions common to the class predominate. Lindell, 2014 WL 841738, at *14.

                                          10           Accordingly, because Brazil’s proposed damages model provides a means of showing
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                                          11   damages on a classwide basis through common proof, the Court concludes that Brazil has satisfied
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                                          12   the Rule 23(b)(3) requirement that common issues predominate over individual ones.

                                          13              2. Superiority

                                          14          A class action brought under Rule 23(b)(3) must be “superior to other available methods for

                                          15   fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). To make this

                                          16   determination the Court considers: (1) the class members’ interests in individually controlling the

                                          17   prosecution or defense of separate actions; (2) the extent and nature of any litigation concerning the

                                          18   controversy already begun by or against class members; (3) the desirability or undesirability of

                                          19   concentrating the litigation of the claims in the particular forum; and (4) the likely difficulties in

                                          20   managing a class action. Fed. R. Civ. P. 23(b)(3)(A)-(D).

                                          21          The superiority requirement tests whether “classwide litigation of common issues will

                                          22   reduce litigation costs and promote greater efficiency.” Valentino v. Carter-Wallace, Inc., 97 F.3d

                                          23   1227, 1234 (9th Cir. 1996). “If each class member has to litigate numerous and substantial separate

                                          24   issues to establish his or her right to recover individually a class action is not superior.” Zinser, 253

                                          25   F.3d at 1192.

                                          26          Dole does not dispute that a class action is superior to other available methods for the fair

                                          27   and efficient adjudication of this controversy. Here, the value of each individual claim is likely

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                                           1   small, such that the only practical way for this case to proceed is as a class action. Moreover,

                                           2   neither party has raised any issues related to efficiency, and the Court finds that this dispute is more

                                           3   efficiently resolved as a class action. Accordingly, the superiority requirement to certify a Rule

                                           4   23(b)(3) class is met.

                                           5      IV.      CONCLUSION

                                           6            For the foregoing reasons, the Court GRANTS Plaintiff’s Motion for Class Certification.

                                           7   Brazil has satisfied the requirements of Rules 23(a), 23(b)(2), and 23(b)(3).

                                           8            The Court therefore CERTIFIES the following class under Rule 23(b)(2): “All persons in

                                           9   the United States who, from April 11, 2008, until the date of notice, purchased a Dole fruit product

                                          10   bearing the front panel label statement ‘All Natural Fruit’ but which contained citric acid and
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                                          11   ascorbic acid. Excluded from the class are (1) Dole and its subsidiaries and affiliates, (2)
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                                          12   governmental entities, and (3) the Court to which this case is assigned and its staff.”

                                          13            The Court also CERTIFIES the following class under Rule 23(b)(3): “All persons in

                                          14   California who, from April 11, 2008, until the date of notice, purchased a Dole fruit product

                                          15   bearing the front panel label statement ‘All Natural Fruit’ but which contained citric acid and

                                          16   ascorbic acid. Excluded from the class are (1) Dole and its subsidiaries and affiliates, (2)

                                          17   governmental entities, (3) the Court to which this case is assigned and its staff, and (4) All persons

                                          18   who make a timely election to be excluded from the Class.” The Court DENIES Plaintiff’s Motion

                                          19   for Class Certification of a nationwide 23(b)(3) class.

                                          20            The Court APPOINTS Plaintiff Chad Brazil as the class representative, and Pratt &

                                          21   Associates, Charles Barrett, P.C., and Barrett Law Group, P.A. as class counsel.

                                          22            The Court DISMISSES with prejudice the Dole products and label statements identified in

                                          23   the SAC for which Brazil did not move for class certification.

                                          24            Within 14 days of the date of this Order, Brazil shall file an amended complaint that

                                          25   amends the class definitions to comport with the Court’s certified class definitions, and deletes the

                                          26   dismissed Dole products and label statements. Plaintiffs may not make any other substantive

                                          27   change to the complaint, unless Defendant stipulates to the change.

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                                           1   IT IS SO ORDERED.

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                                           3   Dated: May 30, 2014                           _________________________________
                                                                                             LUCY H. KOH
                                           4                                                 United States District Judge
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